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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

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     PROPOSED ATTORNEYS FOR DEBTOR
     In re:                                                        Chapter 11

     LTL MANAGEMENT LLC, 1                                         Case No.: 23-12825 (MBK)

                                 Debtor.                           Judge: Michael B. Kaplan


                       NOTICE OF DEBTOR’S MOTION FOR AN ORDER
                 (I) SCHEDULING HEARING ON APPROVAL OF DISCLOSURE
                 STATEMENT; (II) ESTABLISHING DISCLOSURE STATEMENT
                OBJECTION DEADLINE; AND (III) GRANTING RELATED RELIEF

              PLEASE TAKE NOTICE that, on the date set by the Court pursuant to a proposed

 Order Shortening Time (“OST”) and Application submitted herewith, LTL Management LLC,

 the above-captioned debtor (the “Debtor”) by and through its counsel, shall move (the “Motion”)

 before the Honorable Michael B. Kaplan, United States Bankruptcy Judge, at the United States
 1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.



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 Bankruptcy Court, Clarkson S. Fisher U.S. Courthouse, 402 East State Street, Trenton, New

 Jersey 08608, for the entry of an order, pursuant to section 105(a) of the Bankruptcy Code and

 Bankruptcy Rule 9006, for the entry of an order (a) scheduling the hearing (the “Disclosure

 Statement Hearing”) to consider the adequacy of the Debtor’s proposed disclosure statement

 (the “Disclosure Statement”) concerning the Debtor’s Plan 2, which the Debtor anticipates filing

 on or around May 14, 2023, for June 19, 2023, at 10:00 a.m. (prevailing Eastern Time), (b)

 shortening the notice period for objections to approval of the Disclosure Statement by seven (7)

 days, from a twenty-eight day period to a twenty-one day period, (c) establishing the deadline for

 objections to approval of the Disclosure Statement and any other objections to any other relief

 sought in the Disclosure Statement Motion for June 5, 2023, at 4:00 p.m. (prevailing Eastern

 Time), and (d) establishing the deadline for responses in support of approval of the Disclosure

 Statement and any other relief sought in the Disclosure Statement Motion for June 15, 2023.

         PLEASE TAKE FURTHER NOTICE that, responsive papers, if any, must be filed

 with the Clerk of the Bankruptcy Court, Clarkson S. Fisher Courthouse, 402 East State Street,

 Trenton, New Jersey 08608, and served upon (a) the Debtor’s undersigned counsel, (b) proposed

 counsel to the Official Committee of Talc Claimants, (c) counsel to the Debtor’s non-debtor

 affiliates, Johnson & Johnson Holdco (NA) Inc. and Johnson & Johnson, (d) the proposed legal

 representative for future talc claimants and her counsel, (e) the Office of the United States

 Trustee for the District of New Jersey, and (f) any other party entitled to notice in accordance

 with any OST entered by the Court.




 2
         Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.


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         PLEASE TAKE FURTHER NOTICE that, unless an objection is timely filed and

 served, the Motion will be deemed uncontested in accordance with D.N.J. LBR 9013-3(d) and

 the requested relief may be granted without a hearing.



 Dated: April 19, 2023                           WOLLMUTH MAHER & DEUTSCH LLP

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